


  PER CURIAM.
 

  The petition is granted and Jared Collier is hereby afforded a belated appeal from judgment and sentence in case number 07-69-CFA in the Circuit Court for Nassau County. Upon issuance of mandate in this cause, a copy of this opinion will be provided to the clerk of the circuit court with directions that it be treated as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). The circuit court is directed to appoint counsel to represent petition
   
   *1218
   
  er in the appeal, if he qualifies for such an appointment.
 

  PETITION GRANTED.
 

  WEBSTER, DAVIS, and LEWIS, JJ., concur.
 
